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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                              )
VLADIMIR KARA-MURZA,                          )
                                              )
       Plaintiff,                             )
                                              )
               v.                             )      Civil Action No. 20-0545 (RC)
                                              )
DEPARTMENT OF JUSTICE,                        )
                                              )
       Defendant.                             )
                                              )

                                   JOINT STATUS REPORT

       Pursuant to the Court’s Minute Order of May 29, 2020, Plaintiff Vladimir Kara-Murza

and Defendant United States Department of Justice respectfully submit this Joint Status Report

in this Freedom of Information Act (“FOIA”) case.

       This case involves Plaintiff’s July 2018 FOIA request to the Federal Bureau of

Investigation (“FBI”) seeking records regarding Plaintiff, between May 2015 and July 2018. See

ECF No. 1 ¶ 18.

       To date, Defendant has identified approximately 400 pages that are potentially responsive

to Plaintiff’s request and are continuing to search for additional responsive documents. While

Defendant completes the remaining searches, Defendant will begin processing responsive, non-

exempt information to Plaintiff. To account for the possibility of classification reviews,

consultation with other government agencies, and/or the need for a portion of the documents to

be translated, the FBI anticipates making an initial release of responsive, nonexempt records, if

any, by September 15, 2020, to be followed by a final release by October 15, 2020. The parties

are continuing to meet and confer regarding proposals to narrow and/or prioritize the agency’s

response to Plaintiff’s request.
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       In accordance with the Court’s May 29, 2020, Minute Order, the parties will file a further

Joint Status Report on August 10, 2020, and every 45 days thereafter, to apprise the Court

regarding the status of the FBI’s response to Plaintiff’s request.

Dated: June 24, 2020                         Respectfully submitted,

                                                 /s/ Andrew E. Siegel
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